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                                                                                  March 08, 2023

                                                                              CLERK, U.S. DISTRICT COURT
                         UNITED STATES DISTRICT COURT                         WESTERN DISTRICT OF TEXAS
                       FOR THE WESTERN DISTRICT OF TEXAS                          By:        DT
                                El PASO DIVISION
                                EL Paso                                                            Deputy

 UNITED STATES OF AMERICA,                      §               Case No:          EP:23-CR-00466-KC
                                                §   SEALED
        Plaintiff,                              §
                                                §   INDIC TMENT
 v.                                             §
                                                §   CTS 1 and 2: 18 U.S.C. § 242 –
 MIGUEL ANGEL DELGADO, JR.                      §   Deprivation of Rights Under Color of Law
                                                §
        Defendant.                              §   CT 3: 18 U.S.C. § 1519 – Falsification of
                                                §   Records in Federal Investigations


       THE GRAND JURY CHARGES:

                                        COUNT ONE
                                       (18 U.S.C. § 242)
                            Deprivation of Rights Under Color of Law

       On or about June 15, 2020, at the Bridge of the Americas Port of Entry, within the Western

                     Defendant,

                             MIGUEL ANGEL DELGADO, JR.,

while acting under color of law as a United States Customs and Border Protection Officer,

assaulted R.E., a person known to the grand jury, thereby willfully depriving R.E. of the right,

secured and protected by the Constitution and laws of the United States, to be free from

unreasonable seizures, which includes the right to be free from the use of unreasonable force by a

law enforcement officer. The offense resulted in bodily injury to R.E.

       In violation of Title 18, United States Code, Section 242.
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                                          COUNT TWO
                                         (18 U.S.C. § 242)
                              Deprivation of Rights Under Color of Law

         On or about October 20, 2019, at the Bridge of the Americas Port of Entry, within the

                                Defendant,

                               MIGUEL ANGEL DELGADO, JR.,

while acting under color of law, assaulted T.E.E., a person known to the grand jury, thereby

willfully depriving T.E.E. of the right, secured and protected by the Constitution and laws of the

United States, to be free from unreasonable seizures, which includes the right to be free from the

use of unreasonable force by a law enforcement officer. The offense resulted in bodily injury to

T.E.E.

         In violation of Title 18, United States Code, Section 242.

                                                    THREE
                                         (18 U.S.C. § 1519)
            Destruction, Alteration, or Falsification of Records in Federal Investigations

                                                                               Defendant,

                               MIGUEL ANGEL DELGADO, JR.,

in relation to and in contemplation of a matter within the jurisdiction of the United States Customs

and Border Protection (CBP) and the Department of Homeland Security (DHS), agencies of the

United States, knowingly falsified and made a false entry in a document with the intent to impede,

obstruct, or influence the investigation and proper administration of the matter within federal

jurisdiction.




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Specifically, the Defendant submitted a CBP Incident Log Report for the use of force incident

involving R.E. (1) falsely claiming that he “turned [R.E.] around while sitting in the chair in order

to place [R.E.] in hand restraints;” and (2) falsely claiming that R.E. “kept trying to push back and

push” the Defendant “off of [R.E.’s] back.” In violation of Title 18, United States Code, Section

1519.




JAIME ESPARZA
UNITED STATES ATTORNEY

BY:
        Patricia Aguayo
        Assistant United States Attorney



BY:
        Olimpia E. Michel
        Trial Attorney
        Civil Rights Division, Department of Justice




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